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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                    CR 20-67-GF-BMM

               Plaintiff,

        vs.                                   ORDER

 MARK ALLEN HILL,

               Defendant.



       THIS MATTER comes before the Court on the United States’ Unopposed

Motion to File a Brief Under Seal. The Court having read the Motion and being

fully advised in the matter, FINDS that there exists good cause to allow the United

States to file its brief under seal.

       THEREFORE, IT IS ORDERED:

       THAT the United States’ Brief in Support of its Motion for Preliminary

Order of Forfeiture shall be filed under seal.

       DATED this 5th day of May, 2021.




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